                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )      NO. 3:12-00013
                                                      )      JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                           )

                                              ORDER



       Pending before the Court are the following motions: (1) Defendant Manila Vichitvongsa’s

Motion to Join and Adopt Defendant Angela Whitson’s Motions for Pretrial Determination of Co-

Conspirator’s Statements and for Disclosure of Brady Material (Docket Numbers 236, 240) (Docket

No. 245); (2) Jessica Parker’s Motion to Join and Adopt Co-Defendant’s Motions (Docket No. 248);

(3) Jessica Parker’s Motion for Daily Trial Transcript (Docket No. 257); and (4) Defendant Sanders’

Motion for Joinder (Docket No. 258).

       The above Motions (Docket Nos. 245, 248, 257, and 258) are GRANTED.

       Also pending before the Court is Jatavius Sanders’ Motion for Leave to File Additional

Pretrial Motions if Necessary (Docket No. 259). The Motion is GRANTED on the following terms:

Defendant Jatavius Sanders may file additional pretrial motions, if necessary, based on new facts or

circumstances. In addition, nothing prevents Defendant Sanders from otherwise seeking leave of

Court to file a specifically identified motion.

       It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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